     Case 3:16-md-02741-VC Document 8573-1 Filed 12/27/19 Page 1 of 7




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14                               UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
16                                              )
     IN RE: ROUNDUP PRODUCTS                    ) MDL No. 2741
17   LIABILITY LITIGATION                       )
                                                ) Case No. 3:16-md-02741-VC
18                                              )
                                                ) DECLARATION OF BRIAN L.
19                                              ) STEKLOFF IN SUPPORT OF
     Alvarez Calderon v. Monsanto Co., 3:19-cv- ) MONSANTO COMPANY’S MOTION
20   01630-VC                                   ) TO EXCLUDE TESTIMONY OF DR.
                                                ) WILLIAM R. SAWYER ON DAUBERT
21                                              ) GROUNDS
                                                )
22                                              )
                                                )
23
           I, Brian L. Stekloff, declare and state as follows:
24
           1.     I am a partner at the law firm of Wilkinson Walsh + Eskovitz, LLP, counsel for
25
     defendant Monsanto Company (“Monsanto”). I make this declaration in support of Monsanto’s
26
     Motion to Exclude Testimony of Dr. William R. Sawyer on Daubert Grounds.
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       STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8573-1 Filed 12/27/19 Page 2 of 7




 1          2.     Annexed hereto as Exhibit 1 is a true and correct copy of the Deposition of Dr.
 2   William Sawyer, taken September 15, 2019, for Giglio v. Monsanto Company, Northern District
 3   of California Case No. 3:16-cv-05658-VC.
 4          3.     Annexed hereto as Exhibit 2 is a true and correct copy of the Deposition of Dr.
 5   William Sawyer, taken December 21, 2019, for Alvarez Calderon v. Monsanto Company,
 6   Northern District of California Case No. 3:19-cv-01630-VC.
 7          4.     Annexed hereto as Exhibit 3 is a true and correct copy of the Expert Report of Dr.
 8   William Sawyer, dated December 12, 2019, for Alvarez Calderon v. Monsanto Company,
 9   Northern District of California Case No. 3:19-cv-01630-VC.
10          5.     Annexed hereto as Exhibit 4 is a true and correct copy of Plaintiff’s Rule 26
11   Expert Disclosures, dated August 20, 2019, for Giglio v. Monsanto Company, Northern District
12   of California Case No. 3:16-cv-05658-VC.
13          6.     Annexed hereto as Exhibit 5 is a true and correct copy of the Expert Report of Dr.
14   William Sawyer, dated January 14, 2019, for Pilliod, et al. v. Monsanto Company, Superior
15   Court of California, County of Alameda Case No. RG17862702.
16          7.     Annexed hereto as Exhibit 6 is a true and correct copy of the Deposition of Dr.
17   William Sawyer, taken February 6, 2019, for Pilliod, et al. v. Monsanto Company, Superior
18   Court of California, County of Alameda Case No. RG17862702.
19          8.     Annexed hereto as Exhibit 7 is a true and correct copy of the Deposition of Dr.
20   William Sawyer, taken December 20, 2018, for Stevick, et al. v. Monsanto Company, Northern
21   District of California Case No. 3:16-cv-02341-VC.
22          9.     Annexed hereto as Exhibit 8 is a true and correct copy of the Deposition of Dr.
23   William Sawyer, taken July 16 and July 17, 2019, for Winston, et al. v. Monsanto Company, St.
24   Louis City Case No. 1822-CC00515.
25          10.    Annexed hereto as Exhibit 9 is a true and correct copy of George, J., et al., Studies
26   on glyphosate-induced carcinogenicity in mouse skin: A proteomic approach, 73 Journal of
27   Proteomics 951 (2010).
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       STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8573-1 Filed 12/27/19 Page 3 of 7




 1          11.    Annexed hereto as Exhibit 10 is a true and correct copy of EPA Office of
 2   Pesticide Programs, Revised Glyphosate Issue Paper: Evaluation of Carcinogenic Potential
 3   (Dec. 12, 2017).
 4          12.    Annexed hereto as Exhibit 11 is a true and correct copy of IARC, Glyphosate in
 5   Some Organophosphate Insecticides and Herbicides: Diazinon, Glyphosate, Malathion,
 6   Parathion, and Tetrachlorvinphos, Monograph Vol. 112 on the Evaluation of Carcinogenic Risks
 7   to Humans (2015).
 8          13.    Annexed hereto as Exhibit 12 is a true and correct copy of the Reference Manual
 9   on Scientific Evidence.
10          14.    Annexed hereto as Exhibit 13 is a true and correct copy of A. Bradford Hill, The
11   Environment and Disease: Association or Causation?, 58 Proc. R. Soc. Med. 295, 295 (1965).
12          15.    Annexed hereto as Exhibit 14 is a true and correct copy of the Deposition of Dr.
13   William Sawyer, taken February 26, 2018, for Johnson v. Monsanto Company, Superior Court of
14   California, San Francisco County Case No. CGC-16-550128.
15          16.    Annexed hereto as Exhibit 15 is a true and correct copy of the Deposition of Dr.
16   William Sawyer, taken October 25, 2019, for Ines Hernandez v. Monsanto Company, Northern
17   District of California Case No. 3:16-cv-05750-VC.
18          17.    Annexed hereto as Exhibit 16 is a true and correct copy of the Deposition of Dr.
19   William Sawyer, taken November 14, 2019, for Dickey v. Monsanto Company, Northern District
20   of California Case No. 3:19-cv-04102-VC.
21          18.    Annexed hereto as Exhibit 17 is a true and correct copy of the Deposition of Dr.
22   William Sawyer, taken November 14, 2019, for Domina v. Monsanto Company, Northern
23   District of California Case No. 3:16-cv-05887-VC.
24          19.    Annexed hereto as Exhibit 18 is a true and correct copy of the Deposition of Dr.
25   William Sawyer, taken November 14, 2019, for Sanders v. Monsanto Company, Northern
26   District of California Case No. 3:16-cv-05752-VC.
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       STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8573-1 Filed 12/27/19 Page 4 of 7




 1          20.    Annexed hereto as Exhibit 19 is a true and correct copy of the Deposition of Dr.
 2   William Sawyer, taken November 15, 2019, for Pollard v. Monsanto Company, Northern
 3   District of California Case No. 3:19-cv-04100-VC.
 4          21.    Annexed hereto as Exhibit 20 is a true and correct copy of the Deposition of Dr.
 5   William Sawyer, taken November 15, 2019, for Mendoza v. Monsanto Company, Northern
 6   District of California Case No. 3:16-cv-06046-VC.
 7          22.    Annexed hereto as Exhibit 21 is a true and correct copy of the Deposition of Dr.
 8   William Sawyer, taken November 15, 2019, for Tanner v. Monsanto Company, Northern District
 9   of California Case No. 3:19-cv-04099-VC.
10          23.    Annexed hereto as Exhibit 22 is a true and correct copy of the Deposition of Dr.
11   William Sawyer, taken November 5 and November 12, 2019, for Wade, et al. v. Monsanto
12   Company, St. Louis City Case No. 1722-CC00370.
13          24.    Annexed hereto as Exhibit 23 is a true and correct copy of the Deposition of Dr.
14   William Sawyer, taken October 22, 2019, for Russo v. Monsanto Company, Northern District of
15   California Case No. 3:16-cv-06024-VC.
16          25.    Annexed hereto as Exhibit 24 is a true and correct copy of the April 3, 2019, trial
17   transcript from Pilliod, et al. v. Monsanto Company, et al. Alameda Superior Court Case No.:
18   RG17862702.
19          26.    Annexed hereto as Exhibit 25 is a true and correct copy of BAuA, Proposal for
20   Harmonized Classification and Labeling: N (phosphonomethyl)glycine; Glyphosate (ISO), CLH
21   Report for Glyphosate (2016).
22          27.    Annexed hereto as Exhibit 26 is a true and correct copy of EPA, Proposed Interim
23   Registration Review Decision Case No. 0178 (April 2019).
24          28.    Annexed hereto as Exhibit 27 is a true and correct copy of the April 11, 2019, trial
25   transcript from Pilliod, et al. v. Monsanto Company, Alameda Superior Court Case No.:
26   RG17862702.
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       STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8573-1 Filed 12/27/19 Page 5 of 7




 1         29.    Annexed hereto as Exhibit 28 is a true and correct copy of the Deposition of Dr.
 2   Charles Benbrook, taken May 23, 2018, for Hall, et al. v. Monsanto Company, St. Louis City
 3   Case No. 1622-CC01071.
 4         30.    Annexed hereto as Exhibit 29 is a true and correct copy of the Deposition of Dr.
 5   Charles Benbrook, taken February 9, 2018, for Johnson v. Monsanto Company, Superior Court
 6   of California, San Francisco County Case No. CGC-16-550128.
 7         31.    Annexed hereto as Exhibit 30 is a true and correct copy of the Deposition of Dr.
 8   William Sawyer, taken August 23, 2018, for Hall, et al. v. Monsanto Company, St. Louis City
 9   Case No. 1622-CC01071.
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       STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8573-1 Filed 12/27/19 Page 6 of 7




 1   DATED: December 27, 2019                 Respectfully submitted,

 2                                            /s/ Brian L. Stekloff___________

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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8573-1 Filed 12/27/19 Page 7 of 7




 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 27th day of December, 2019, a copy of the foregoing
 3   was filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing
 4   to all appearing parties of record.
                                                /s/ Michael X. Imbroscio
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       STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
